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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

UNITED STATES OF AMERICA                                                PLAINTIFF

v.                         CASE NO. 4:10cr00065-5 BSM

RECHO BERRY                                                           DEFENDANT

                                       ORDER

      The United States moves to dismiss without prejudice the case against defendant

Recho Berry. [Doc. No. 449]. For good cause shown, the motion is granted and the case

against defendant Recho Berry is dismissed without prejudice.

      IT IS SO ORDERED this 10th day of May, 2011.



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
